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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
GALVESTON DIVISION

KIRBY INLAND MARINE, LP
Plaintiff,

V.
Civil Action No.
FPG SHIPHOLDING PANAMA
478.A., K LINE ENERGY SHIP
MANAGEMENT, and the VLGC
GENESIS RIVER, in rem

COD 669 COD 60? 602 LO? CO? LO) COD KO?

Defendants.

KREKRKREKEKEERERRRERERER

IN THE MATTER OF KIRBY Rule 9(h) Admiralty
INLAND MARINE, LP, ina

cause of exoneration from or Non-Jury
limitation of liability

PLAINTIFF KIRBY INLAND MARINE, LP’S ORIGINAL COMPLAINT
AND PETITION FOR EXONERATION FROM OR LIMITATION OF
LIABILITY

Plaintiff Kirby Inland Marine, LP (“Kirby”) files this complaint and
verified petition for exoneration from and/or limitation of liability against
Defendants FPG Shipholding Panama 47 S.A., K Line Energy Ship
Management, and the VLGC GENESIS RIVER. In support of its complaint,

Kirby respectfully shows the Court as follows:

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I.
Parties

1. Plaintiff Kirby Inland Marine, LP is a limited partnership
organized and existing under the laws of the State of Delaware with its
principal place of business in Houston, Texas. Kirby is, and at all times
mentioned in this complaint was, the owner and operator of the M/V
VOYAGER and its tank barges Kirby 30015T and MMI 3041.

2. Defendant FPG Shipholding Panama 47 S.A. (“FPG
Shipholding”) is a corporation (“sociedad anonima”) incorporated in Panama.
FPG Shipholding is, and at all times mentioned in this complaint was, the
owner of the VLGC GENESIS RIVER. FPG Shipholding is not authorized to
do business in Texas but, at all materials times, did business in Texas by
committing a tort in Texas and/or relations with Texas entities with the
intention of conducting commerce, and specifically, but not limited to
maritime torts within the state, which constitutes doing business in Texas
according to Section 17.042 of the Texas Civil Practices & Remedies Code.
Exercising jurisdiction over FPG is reasonable. FPG does not maintain a
registered agent for service of process in Texas and Panama is not a signatory
to any treaty for the service of process. Accordingly, service may be

effectuated by delivery of process through its registered agent Morgan &
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Morgan, MMG Tower, 23th Floor, Ave. Paseo del Mar, Costa del Este,
Panama City, Republic of Panama.

3. Defendant “K” Line Energy Ship Management Co., Ltd. (“K
Line”) is a foreign corporation with its principal place of business in Tokyo,
Japan. K Line is, and at all times mentioned in this complaint was, the
manager and/or operator of the VLGC GENESIS RIVER. K Line is not
authorized to do business in Texas but, at all materials times, did business in
Texas by committing a tort in Texas and specifically, but not limited to
maritime torts within the state, which constitutes doing business in Texas
according to Section 17.042 of the Texas Civil Practices & Remedies Code.
Exercising jurisdiction over K Line is reasonable. Pursuant to Fed. R. Civ. P.
4 and the Hague Convention on the Service Abroad of Judicial and
Extrajudicial Documents in Civil or Commercial Matters, K Line may be
served with process by service on its President or Officer in Charge at its
home office at 15*6 Floor, Iino Bldg., 1-1, Uchi-Saiwaicho 2-Chome, Chiyoda-
Ku, Tokyo 100-0011, Japan.

A, Defendant VLGC GENESIS RIVER is a Panamanian flagged
LPG tanker, bearing IMO no. 9791224 and call sign H3UA. The vessel may
be served by substituted service of process upon the Texas Secretary of State
or by serving the vessel’s owner via the vessel’s operating company, K-Line at

15th Floor, Iino Bldg., 1-1, Uchi-Saiwaicho 2-Chome, Chiyoda-Ku, Tokyo 100-
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0011, Japan, in accordance with the Hague Convention. Alternatively, the
vessel’s owner may be served directly as prescribed by Federal Rule of Civil

Procedure 4(h)(2) and Panamanian law.

II.
Jurisdiction and Venue

5. This is a cause of admiralty, maritime, and other federal
jurisdiction, brought under Rule 9(h) of the Federal Rules of Civil Procedure,
Supplemental Admiralty Rules C and F, 28 U.S.C. §§ 1331, 1333, 1367, and
33 U.S.C. § 2717(b).

6. Venue is proper in this district pursuant to Supplemental
Admiralty Rule F(9), and 33 U.S.C. § 2717(b) because the collision and
ensuing spill at issue occurred in this district and personal jurisdiction can be

obtained over the defendants named herein.

IIT.
Facts

7. Kirby is the owner and operator of the M/V VOYAGER and the
tank barges Kirby 30015T and MMI 3041. Kirby was responsible for the
management, manning, victualing, and operation of these vessels. The M/V
VOYAGER, bearing Official Number 563475, is a towing vessel of the United
States with a gross tonnage of 155 GRT. The tank barge Kirby 300015T,
bearing Official Number 1045801, was a tank barge without propulsive power

with a gross tonnage of 1619 GRT. The tank barge MMI 3041, bearing
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Official Number 1145645, was a tank barge without propulsive power with a
gross tonnage of 1619 GFT. Kirby exercised all required due diligence to
make and maintain the M/V VOYAGER, Kirby 30015T, and MMI 3041 ina
seaworthy condition and at all times hereinafter described until the time of
the collision solely caused by the LPGC GENESIS RIVER, these vessels were
tight, staunch, strong, fully and properly equipped and supplied, and in all
respects seaworthy and fit for the services for which they were engaged.

8. On May 10, 2019, the M/V VOYAGER was pushing the two
breasted tank barges, the Kirby 30015T and the MMI 3041, proceeding
inbound in the barge lane of Houston Ship Channel. The M/V VOYAGER
was transiting in the barge lane on the “red” side of the channel, which is the
customary and normal route for an inbound tug with barges. The VLGC
GENESIS RIVER, a 755-foot tanker, was outbound in the channel, on the
“green” side. At the time of the incident, the M/V VOYAGER and her barges
were clearly visible to outbound traffic and within sight of the VLGC
GENESIS RIVER. Nevertheless, the VLGC GENESIS RIVER suddenly and
unexpectedly altered its course to the port, crossing the channel and placing
it on a collision course with the M/V VOYAGER and her tow. Unable to
control the vessel, the pilot of the VLGC GENESIS RIVER demanded that
the captain of the M/V VOYAGER cross towards the green side of the channel

in an effort to avoid the collision. The captain of the M/V VOYAGER
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complied. After the M/V VOYAGER carried out the requested evasive
maneuver and was attempting to escape toward the green side of the
channel, the VLGC GENESIS RIVER uncontrollably and unexpectedly
altered course to the starboard, once again placing it on a collision course
with the M/V VOYAGER and her tow. Realizing that a collision could not be
avoided, the pilot of the VLGC GENESIS RIVER altered course directly into
the KIRBY 30015T in an effort to avoid directly impacting the manned M/V
VOYAGER. The force of the collision caused the bow of the VLGC GENESIS
RIVER to penetrate beyond the double hull of the KIRBY 30015T, resulting
in a spill of reformate, and caused the MMI 3041 to capsize.

9. The collision between the VLGC GENESIS RIVER and the M/V
VOYAGER and her tow and the resulting reformate discharge were not
proximately caused by Kirby or the M/V VOYAGER or Kirby 30015T or MMI
3041, but instead were proximately caused by the sole fault, negligence,
and/or other acts of the VLGC GENESIS RIVER, FPG Shipholding, K Line,
and/or their agents, servants, employees, and/or other persons for whom they
are responsible.

10. The VLGC GENESIS RIVER, FPG Shipholding, K Line and/or
their agents, servants, employees, and/or other persons for whom they are
responsible were the sole or contributing cause of the collision and resulting

damages in the following respects:
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a. Incompetence and inattention to their duties;

b. Failing to make use of all available means to determine
that the risk of collision existed;

c. Turning to the port into the path of the oncoming M/V
VOYAGER and her tow when the VLGC GENESIS RIVER
was required to keep to the side of the channel that was on
her starboard side;

d. The VLGC GENESIS RIVER failed to navigate properly in
accordance with the applicable rules of navigation and/or
passing agreements and customs of the Houston Ship
Channel;

e. The VLGC GENESIS RIVER failed to maintain a proper
lookout and failed to maintain a proper listening watch;

f. The VLGC GENESIS RIVER failed to take reasonable
action to prevent the collision or minimize the effect
thereof;

g. The VLGC GENESIS RIVER failed to chart and maintain a
safe speed and course;

h. The VLGC GENESIS RIVER’s crew was not properly
trained or managed to safely navigate the vessel;

i. The VLGC GENESIS RIVER was unseaworthy;
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j. Failing to exercise reasonable care under the
circumstances; and

k. Other acts of negligence and/or unseaworthiness that may
be determined as discovery progresses.

11. The VLGC GENESIS RIVER, FPG Shipholding, K Line and/or
their agents, servants, employees, and/or other persons for whom they are
responsible violated statutory regulations, standards and laws designed and
enacted to prevent incidents such as the one forming the basis of this suit.
Pursuant to the rule of The PENNSYLVANIA, 86 U.S. (19 Wall.) 125, 22 L.
Ed. 148 (1874), the VLGC GENESIS RIVER, FPG Shipholding, and K Line
have the burden of showing “not merely that [their] fault might not have
been one of the causes [of the loss], or that it probably was not, but that it
could not have been.” The VLGC GENESIS RIVER, FPG Shipholding, and K
Line are also liable under the doctrine of negligence per se.

12. The United States Coast Guard, the Texas Commission on
Environmental Quality, and other units of federal, state, and local
governments responded to the spill. Since then, Kirby conducted cleanup
operations and is participating in cooperative natural resource damage
assessment (NRDA) under the Oil Pollution Act of 1990 (““OPA”) with local,
state and federal agencies. OPA establishes the framework for addressing

the liability of responsible parties in connection with the discharge of the
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product into the navigable waters of the United States, adjoining shorelines,
or the exclusive economic zone.

13. The purpose of OPA is to facilitate prompt cleanup of oil spills.
Therefore, under OPA, Kirby—solely because it is the owner of the vessel
from which reformate was discharged after the collision—is considered the
initial “responsible party” charged with removal costs and damages even
though Kirby was not at fault. Pursuant to OPA, Kirby has participated in
cleanup efforts and entered into a cooperative agreement to participate and
fund ongoing natural resource damage assessment studies with state and
federal trustees. In addition, as the initial “responsible party,” Kirby is
potentially subject to claims by individuals and businesses for monetary
damages. In addition to the claims it faces pursuant to OPA, numerous
parties have asserted personal injury and other claims that are not subject to
OPA.

14. Asa result of the collision between the VLGC GENESIS RIVER
and the M/V VOYAGER and its tow, Kirby has incurred significant damages
of its own. The collision capsized and/or damaged the MMI 3041 and Kirby
30015T, requiring Kirby to incur significant towing, survey, superintendent,
salvage, repair and other costs. In addition, Kirby has been denied the use of

these vessels as a result of the collision. These damages are in addition to
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the OPA removal costs and potential damages to various claimants that

Kirby has incurred and will incur during the pendency of this case.

IV.
Causes of Action

Count I~ Subrogation under the Oil Pollution Act

15. Kirby incorporates by reference each of the preceding paragraphs
as if fully set forth herein.

16. The VLGC GENESIS RIVER, FPG Shipholding, K Line and/or
their agents, servants, employees, and/or other persons for whom they are
responsible were the sole cause of the May 10, 2019 collision with the M/V
VOYAGER and its tow and the resulting discharge of reformate.

17. Because the VLGC GENESIS RIVER, FPG Shipholding, K Line
and/or their agents, servants, employees, and/or other persons for whom they
are responsible were the sole cause of the collision and resulting discharge
and should be treated as the responsible party, OPA entitles Kirby to be
subrogated to “all rights of the United States Government and the
claimant[s] to recover removal costs of damages from” the VLGC GENESIS
RIVER, FPG Shipholding, and/or K Line. 33 U.S.C. § 2701(d)(a)(B).

18. Alternatively, in the event that it is ultimately determined that

the VLGC GENESIS RIVER, FPG Shipholding, K Line and/or their agents,

servants, employees, and/or other persons for whom they are responsible

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were not the sole cause of the collision and resulting spill, the acts and/or
omissions of VLGC GENESIS RIVER, FPG Shipholding, K Line and/or their
agents, servants, employees, and/or other persons for whom they are
responsible nevertheless were a contributing proximate cause. Under OPA,
Kirby is therefore “subrogated to all rights, claims, and causes of action that
the claimant has under any other law.” 33 U.S.C. § 2715.

19. Under these provisions, Kirby seeks payment through
subrogation against the VLGC GENESIS RIVER, FPG Shipholding, and K
Line for their complete or, in the alternative, partial fault in causing the oil
spill.

20. Kirby is entitled to recover from the VLGC GENESIS RIVER,
FPG Shipholding, and/or K Line directly by subrogation all costs that Kirby
has incurred, and will incur, for the removal of reformate due to the collision
as well as all claims from damages against Kirby.

Count IT — Contribution under the O1l Pollution Act

21. Kirby incorporates by reference each of the preceding paragraphs
as if fully set forth herein.

22. As set forth above, Kirby, as owner and operator of the M/V
VOYAGER and its tow, has been deemed the “responsible party” under OPA
with respect to removal costs and claims associated with the discharge on

May 10, 2019. As the responsible party, Kirby has incurred, and will
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‘continue to incur, significant costs for spill removal and claims against Kirby
pursuant to OPA § 3702(b) and other federal and state laws.

23. Because the VLGC GENESIS RIVER, FPG Shipholding, K Line
and/or their agents, servants, employees, and/or other persons for whom they
are responsible were the sole cause, or at least a contributing cause, of the
collision and resulting discharge, the VLGC GENESIS RIVER, FPG
Shipholding, and/or K Line are liable or potentially liable under OPA and
other laws.

24. OPA creates a right of contribution against any other person who
is liable or potentially liable for a spill. 33 U.S.C. § 2709. Such a person may
bring a contribution action under OPA against any third party who may be
liable for the underlying incident under OPA or any other law, such as state
law or general maritime law. Id.

25. Kirby is therefore entitled to recover from the VLGC GENESIS
RIVER, FPG Shipholding, and/or K Line in contribution for costs that Kirby
has incurred, and will incur, for the removal of reformate due to the collision
as well as all claims for damages against Kirby.

Count ITT — Texas Oil Spill Prevention and Response Act of 1991

26. Kirby incorporates by reference each of the preceding paragraphs

as if fully set forth herein.

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27. In addition to OPA, Texas has enacted its own statutory scheme
governing oil spills, the Texas Oil Spill Prevention and Response Act of 1991,
Texas Natural Resources Code Chapter 40. Under the Texas Act, Kirby has
responsibilities similar to under OPA to respond to the spill in order to
quickly contain and remove product from the discharge. Kirby has fully
cooperated with state authorities to undertake these responsibilities.

28. However, because the VLGC GENESIS RIVER, FPG
Shipholding, and/or K Line is responsible, solely or in part, for the collision
between the VLGC GENESIS RIVER and the M/V VOYAGER and its tow,
Kirby is subrogated to, and may therefore recover against, the VLGC
GENESIS RIVER, FPG Shipholding, and/or K Line under the Texas Act for
any claims or damages that it has paid or may pay in the future.

Count IV — Maritime Claims

29. Kirby incorporates by reference each of the preceding paragraphs
as if fully set forth herein.

30. The acts and/or omissions of the VLGC GENESIS RIVER, FPG
Shipholding, K Line and/or their agents, servants, employees, and/or other
persons for whom they are responsible, as more fully set forth above,
constitute unseaworthiness, negligence, and/or negligence per se under

general maritime law.

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31. Kirby is therefore entitled, under general maritime law, to
recover from the VLGC GENESIS RIVER, FPG Shipholding, and/or K Line
for its damages, including damages to its vessels, loss in revenue, costs
incurred for cleanup and removal, current and future claims by other
claimants, and any and all other damages that Kirby has or may incur as a
result of the May 10, 2019 collision between the VLGC GENESIS RIVER and

the M/V VOYAGER and its tow.

Count V — State Common Law Claims

32. Kirby incorporates by reference each of the preceding paragraphs
as if fully set forth herein.

33. The acts or omissions of the VLGC GENESIS RIVER, FPG
Shipholding, K Line and/or their agents, servants, employees, and/or other
persons for whom they are responsible proximately resulted in damages
sustained by Kirby.

34. Those acts or omissions constituted negligence or negligence per
se on the part of the VLGC GENESIS RIVER, FPG Shipholding, and/or K
Line. As such, Kirby is entitled to recover from the VLGC GENESIS RIVER,
FPG Shipholding, and/or K Line all of its damages resulting from the

collision.

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Count VI —Limitation of Liability Under the Oil Pollution Act

35. Kirby incorporates by reference each of the preceding paragraphs
as if fully set forth herein.

36. In the alternative, in the event that Kirby should be held
responsible in any way, Kirby claims the benefits of the limitations of liability
provisions of OPA, 33 U.S.C. § 2704.

37. OPA’s limitation of liability is based on the gross registered
tonnage of vessel. The current limitations are found at 33 C.F.R. § 138.230.
The vessel from which the discharge emanated was the Kirby 380015T.
Pursuant to 33 C.F.R. § 138.230, the limitation of liability for the Kirby
30015T is $4,699,200.

Count VII —Shipowner’s Limitation of Liability Act

38. Kirby incorporates by reference each of the preceding paragraphs
as if fully set forth herein.

39. To the extent that OPA is not applicable, Kirby is entitled to limit
its liability under the Shipowner’s Limitation of Liability Act of 1851.

40. Kirby claims exoneration from all liability for all losses, damages,
injuries, and destruction incurred as a result of the May 10, 2019 collision
between the VLGC GENESIS RIVER and the M/V VOYAGER and its tow.

41. Without admitting, but affirmatively denying all liability, Kirby

claims the benefits of the Limitation of Liability Act, 46 U.S.C. § 30501 et seq.
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and all laws supplementary thereto and amendatory thereof, because all the
losses, damages, injuries, and/or destruction resulting from the May 10, 2019
collision occurred without the privity or knowledge of Kirby.

42. At the termination of the voyage underway on May 10, 2019, the
value of Kirby’s interest in the M/V VOYAGER is $1,000,000.00, the value of
Kirby’s interest in tank barge Kirby 30015T is $70,000.00, and the value of
Kirby’s interest in tank barge MMI 3041 is $836,000.00. (See Ex. 1,
Declaration of William J. Hatfield). On May 10, 2019, the amount of freight
pending for the M/V VOYAGER was $110,000. (See Ex. 2, Declaration of Mel
Jodeit). Accordingly, the total amount of the Limitation of Liability Act fund
is $2,016,000.00.

43. Kirby files contemporaneously herewith an Ad _ Interim
Stipulation of Value of Security for the deposit into this Honorable Court of
the aggregate amount of Petitioner’s interest in the M/V VOYAGER, Kirby
Barge 380015T, and MMI 3041 plus her freight pending at the termination of
the voyage, with interest at the rate of six percent (6%) per annum from the
date of the deposit of the security as may be ascertained and determined to be
necessary under any orders of this Court.

44. Pursuant to 46 U.S.C. § 380501 et seg. and Rule F of the

Supplemental Admiralty Rules, Kirby is required to furnish security for

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costs. Accordingly, Kirby will file a check in the amount of $500.00 once the
Court enters an order allowing a cash deposit in lieu of filing a cost bond.

45. Kirby claims exoneration and exemption from liability for any
and all claims for damages or losses occasioned or incurred, or alleged to have
been occasioned or incurred, by reason of the May 10, 2019 collision between
the VLGC GENESIS RIVER and the M/V VOYAGER and her tow.

46. Kirby further avers that it has valid defenses to the merits of any
and all such claims. Kirby specifically claims the benefits of the Limitation of
Liability Act, as set forth in 46 U.S.C. § 30501 et seq. and all statutes
amendatory thereof and supplementary thereto.

47. Pursuant to 46 U.S.C. § 30501 et seq., Kirby is entitled to have all
claims and issues concerning the May 10, 2019 collision consolidated in a
single proceeding before the United States District Court for the Southern
District of Texas sitting in Admiralty.

V.
Prayer

WHEREFORE, Kirby Inland Marine, LP prays that, after trial or final
hearing hereof, it has judgment against Defendants for the following:
a. All costs incurred by Kirby under 33 U.S.C. § 2702 for removal
costs and damages associated with the May 10, 2019 collision
between the VLGC GENESIS RIVER and the M/V VOYAGER

and its tow;

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b. Alternatively, contribution for, or subrogation to, a proportionate
amount of all costs incurred by Kirby under 33 U.S.C. § 2702 for
removal costs and damages associated with the May 10, 2019
collision between the VLGC GENESIS RIVER and the M/V
VOYAGER and its tow;

c. All damages incurred by Kirby, including recovery of damages to
the M/V VOYAGER, the Kirby 30015T, and the MMI 3041;

d. All loss of revenue to Kirby as a result of the May 10, 2019
collision between the VLGC GENESIS RIVER and the M/V
VOYAGER and its tow;

e, Limiting Kirby’s OPA liability, if any, as a result of the May 10,
2019 collision between the VLGC GENESIS RIVER and the M/V
VOYAGER and its tow to $4,699,200;

f. An order approving the aforementioned Ad Interim Stipulation of
Value deposited with the Court as security for the amount of
value of Kirby’s interest in the M/V VOYAGER, Kirby 30015T,
and MMI 3041;

g, An order issuing a notice to all persons, firms, associations, or
corporations asserting non-OPA claims with respect to which
Kirby seeks exoneration from, or limitation of liability,
admonishing them to file their respective claims with the Clerk of
this Court and to serve on the attorneys for Kirby a copy thereof
on or before the date to be named in the Notice and that if any
claimant desires to contest either the right to exoneration form,
or the right to limitation of liability that claimant shall file and
serve on the attorneys from Kirby an answer or the complaint on
or before the said date;

h. An order enjoining the prosecution of any and all non-OPA
actions, suits, or proceedings which may be commenced, of any
nature of description whatsoever in any jurisdiction against
Kirby or any other property of Kirby or against Kirby’s employees
or underwriters, except in this action, to recover damages
allegedly resulting from the May 10, 2019 collision;

1. An order adjudging the Kirby is not liable to any extent for any
damages resulting from the May 10, 2019 collision;

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j. Alternatively, with respect to non-OPA claims, if Kirby is
adjudged liable, Kirby prays that any liability be limited to the
amount of value of Kirby’s interest in the M/V VOYAGER, Kirby
30015T, and MMI 3041 at the end of the May 10, 2019 voyage,
plus pending freight, and that Kirby be discharged therefrom
upon surrender of such interest and that the money surrendered,
paid or secured to be paid, be divided pro rata according to the
aforementioned statutes and among the claimants as they duly
prove their claims in accordance with the provisions of the Order
for which Kirby has prayed, saving to all parties any priorities to
which they may be legally entitled that that decree be entered
discharging Kirby form all further liability;

k,. Pre-judgment and post-judgment interest at the maximum rate
allowed under law;

1, All costs and expenses of litigation, as set forth herein;
m. Costs of court;

n. All further relief, at law or in equity, general or special, to which
Kirby may be entitled.

Respectfully submitted,
SHIPLEY SNELL MONTGOMERY LLP

By: /s/ George T. Shipley
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VERIFICATION
STATE OF TEXAS §
§ KNOW ALL MEN BY THESE PRESENTS

COUNTY OF HARRIS §

BEFORE ME, the undersigned authority, on this day did personally
appear George Shipley, known to me to be the person executing this affidavit
and upon having been duly sworn upon his oath did depose and state as
follows:

1. My name is George Shipley. I am over 18 years of age, of sound mind,
and have never been convicted of a felony or crime involving moral
turpitude. The facts stated in this affidavit are within my personal
knowledge and are true and correct.

2. I am the lead counsel for Kirby Inland Marine, LP in the action to be
filed in the Southern District of Texas, Galveston Division, styled Kirby
Inland Marine, LP v. FPG SHIPHOLDING PANAMA 47 S.A., K LINE
ENERGY SHIP MANAGEMENT, and the VLGC GENESIS RIVER
and In the Matter of Kirby Inland. Marine, LP, in a Cause of
Exoneration From or Limitation of Liability.

3. I have read the Complaint for Exoneration from or Limitation of
Liability with which this Verification is filed, and certify that the facts

. contained in Count VII therein are true and correct based upon my
personal knowledge and/or best information and belief. The sources of
my information and the grounds for my belief as to all matters stated
herein are documents of and communications with said corporations
and/or their employees.

Further Affiant sayeth not. pr Looe T Bhrpleg

George Shipley

 

GIVEN UNDER my hand and official seal of office this [9 th day of June

_ Copa Qophatn Tkabre

Notary PubMe in and for the State of Texas
= Comm, Expires 03-14-2022 My Commission Expires:
a Notary ID 8830679

CARLA JACKSON MOORE
ee c% Notary Public, State of Texas

 
